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                     UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF WASHINGTON

SUMUKH DEEPAK BALLAL, et al.,            )
                                         )
      Plaintiffs,                        )
                                         )
      v.                                 )
                                         ) Case No. 2:24-cv-2088-JLR
UR M. JADDOU,                            )
                                         )
      Defendant.                         )
________________________________________ )

                      [PROPOSED] ORDER GRANTING
             UNOPPOSED MOTION TO EXTEND RESPONSE DEADLINE

       On February 18, 2025, Defendant filed an unopposed motion to extend the deadline to

respond to the complaint by 62 days, through April 28, 2025. The Court finds that Defendant has

shown good cause to extend the response deadline. See Fed. R. Civ. P. 6(b)(1)(A). Accordingly,

the Court hereby GRANTS Defendant’s motion and extends the deadline to respond to the

complaint by 62 days, through April 28, 2025.




Date: February 19, 2025
                                                 A
                                            ___________________________________
                                                  HON. JAMES L. ROBART
                                                  United States District Judge
